      Case 3:20-cv-00374-JWD-SDJ             Document 1   06/16/20 Page 1 of 7




                   UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF LOUISIANA


RALPH BURST                                       * CIVIL ACTION NO.

VS.                                               * JUDGE:

M/V XING XI HAI, IT’S ENGINES,                    * MAGISTRATE:
TACKLE, EQUIPMENT AND
APPERTENANCES, IN REM, and                        *
SUNSHINE NAUTICAL, SA,
BERNARD SHULTE SHIPMANAGEMENT                     *
COMPANY, LTD.,
DALIAN OCEAN PROSPERITY                           *
INTERNATIONAL SHIP MANAGEMENT
COMPANY,                                          *
CHINA MINSHING SHIPPING
MANAGEMENT, CO., LTD.,                            *
MR. YIN SHENG YANG

*      *       *      *       *          *    *   *


               COMPLAINT FOR DAMAGES AND VERIFICATION

       Now into Court, through undersigned counsel, comes plaintiff, Ralph Burst, a

person of the full age of majority and a resident of the State of Louisiana, who

respectfully represents the following:

                                             1)

                                     DEFENDANTS

       That made defendants herein are the following:

a) M/V Xing Xi Hai, is a Hong Kong, China, flagged vessel, whose homeport is Hong

Kong, China, IMO No. 9767065, Official No. HK- 4616. This vessel is sued herein in

rem pursuant to Supplemental Rule C, governing admiralty and maritime claims;




                                             1
       Case 3:20-cv-00374-JWD-SDJ          Document 1       06/16/20 Page 2 of 7




b) Sunshine Nautical, SA, is a Chinese corporation whose principal place of business is

located in China and who owns the M/V Xing Xi Hai;

c) Bernard Shulte Shipmanagement (China) Company, Ltd., is a Chinese corporation,

whose principal place of business is located in China and who manages the M/V Xing Xi

Hai;

d) Dalian Ocean Prosperity International Ship Management, Co., is a Chinese corporation

whose principal place of business is located in China and who manages the M/V Xing Xi

Hai;

e) China Minshing Shipping Management Co., Ltd., is a Chinese corporation whose

principal place of business is located in China and who manages the M/V Xing Xi Hai;

f) Mr. Yin Sheng Yang, is a person of the full age of majority, who is a citizen and

resident of China and is the Captain/Master of the M/V Xing Xi Hai.

                                            2)

                                    JURISDICTION

        That the jurisdiction of this Court is raised and exists pursuant to the maritime

/admiralty laws of the United States of America and suit is brought herein against the

M/V Xing Xi Hai, it’s engines, tackle and appurtenances, as an in rem action pursuant to

Rule C of the Supplementary Rules governing such actions.

        The defendants, Sunshine Nautical SA, Bernard Shulte Shipmanagement (China)

Company Ltd., Dalian Ocean Prosperity International Ship Management, Co., China

Minshing Shipping Management Co., Ltd., and Yin Sheng Yang are sued herein in

personam as foreign corporations and a foreign individual, who have diverse citizenships

relative to Ralph Burst, pursuant to 28 U.S.C.A. Sec. 1332 (a)(2).




                                            2
      Case 3:20-cv-00374-JWD-SDJ           Document 1      06/16/20 Page 3 of 7




        Additionally, the amount in controversy exceeds the sum of $75,000.00, exclusive

of interest and costs.

                              FACTUAL BACKGROUND

                                           3)

        At all times hereto, Ralph Burst was a longshoreman employed by T. Parker Host,

Inc., on or about June 19, 2017. Mr. Burst sustained a maritime tort inflicted upon him by

the M/V Xing Xi Hai and the afore named defendants, as such, Ralph Burst is entitled to

the rights and protections of a maritime lien against the defendant vessel and exercises

those rights and protections herein.

                                           4)

        On or about June 19, 2017, Ralph Burst was employed as a longshoreman at the

Louis Dreyfus Company dock facility, while working in the course and scope of his

employment with T. Parker Host, Inc.

                                           5)

        That on or about June 19, 2017, the defendant, M/V Xing Xi Hai, operating under

the control and direction of defendant Captain Yin Sheng Yang, was being moored by a

longshoremen crew, which included Ralph Burst, at the Louis Dreyfus dock facility,

located in Port Allen, Louisiana.

                                           6)

        That Ralph Burst, while performing his duties as a longshoreman, was

negligently injured by defendant vessel, through the negligent actions and or inactions of

defendant, Yin Sheng Yang and other crewmen of the M/V Xing Xi Hai.




                                            3
      Case 3:20-cv-00374-JWD-SDJ           Document 1       06/16/20 Page 4 of 7




                                            7)

       At all times herein on June 19, 2017, Ralph Burst was handling and holding a

mooring line of the M/V Xing Xi Hai and was attempting to affix the mooring line to the

Louis Dreyfus Company dock facility, when suddenly and without warning the mooring

line was hauled-upward toward the vessel by the crewmen of the M/V Xing Xi Hai,

thereby causing Ralph Burst to be violently thrown onto the surface of dock and

grievously injuring the plaintiff.

                                            8)

                              COUNT ONE NEGLIGENCE

       That defendant, Yin Sheng Yang, was the Captain/Master of the offending vessel

and was supervising the vessel and crew during the mooring operations. This defendant

was negligent in improperly supervising the crewmen employed by the vessel and among

other acts of negligence, improperly gave orders and/or failed to give proper orders to the

vessel crew. That his negligent conduct and that of the vessel crew were the proximate

cause of the damages sustained by Ralph Burst.

                                            9)

                         COUNT TWO UNSEAWORTHINESS

       The defendant vessel, M/V Xing Xi Hai was unseaworthy and said

unseaworthiness was also the proximate cause of damages suffered by Ralph Burst.

                                           10)

 COUNT THREE VICARIOUS LIABILITY OF MANAGEMENT COMPANIES

       That at all times herein, defendants, Bernard Shulte Shipmanagement (China)

Company Ltd., and/or Dalian Ocean Prosperity International Ship Management, Co.,




                                            4
     Case 3:20-cv-00374-JWD-SDJ              Document 1      06/16/20 Page 5 of 7




and/or China Minshing Shipping Management Co., Ltd., manned, hired, employed and

maintained Captain Yin Sheng Yang and the crew of the M/V Xing Xi Hai and thereby

are vicariously responsible for the negligent acts of the captain and crew of this vessel.

                                            11)

       COUNT FOUR VICARIOUS LIABILITY OF THE VESSEL OWNER

       That at all times herein, defendant, Sunshine Nautical SA, is the owner of the bulk

cargo vessel, M/V Xing Xi Hai and is likewise responsible for the negligence and

damages caused by its vessel, it’s captain and crew.

                                            12)

       That the M/V Xing Xi Hai is within this district or will be within this district

while this action is pending. As such, pursuant to Supplemental Rule C, the vessel, it’s

engines, tackle and appurtenances are subject to seizure by Order of this Court.

                                            13)

       The plaintiff, Ralph Burst, pursuant to Supplemental Rule E (3) (b) does hereby

request that the issuance and delivery of the process in rem be held in abeyance by this

Honorable Court.

                                            14)

       That all named defendants herein are jointly, severally and in solido liable unto

the petitioner for proximately causing damages to petitioner, including but not limited to

damages to his body, his psyche, past and future lost wages, past and future medical

expenses, past and future loss of services, as well as past and future physical pain,

suffering and mental anguish.




                                              5
     Case 3:20-cv-00374-JWD-SDJ             Document 1       06/16/20 Page 6 of 7




                                        PRAYER

       WHEREFORE, plaintiff, Ralph Burst, respectfully requests that this Honorable

Court, after all necessary delays and due proceedings had, render Judgment in favor of

Ralph Burst and against defendants, M/V Xing Xi Hai, Yin Sheng Yang, Sunshine

Nautical SA, Bernard Shulte Shipmanagement (China) Company Ltd., Dalian Ocean

Prosperity International Ship Management, Co., and China Minshing Shipping

Management Co., Ltd., jointly, severally and in solido, for an amount of damages to be

set by the trier of fact, including but not limited to special damages, general damages, all

costs of these proceedings, as well as attorneys fees where appropriate and for all general

and equitable relief herein based on the premises.


                                              Respectfully submitted,

                                              GREGORIO, CHAFIN, JOHNSON,
                                              TABOR & FENASCI, L.L.C.
                                              111 Veterans Memorial Blvd., Suite 1520
                                              Metairie, Louisiana 70005
                                              Telephone: (504) 475-7100
                                              Facsimile: (504) 475-7101
                                              Email: bfenasci@gcj-law.com


                                      By:    /s/BRETT P. FENASCI
                                              BRETT P. FENASCI
                                              LA Bar Roll No. 29858

                                              AND




                                             6
Case 3:20-cv-00374-JWD-SDJ   Document 1   06/16/20 Page 7 of 7




                                   FENASCI & ASSOCIATES
                                   MICHAEL A. FENASCI
                                   LA. Bar Roll No. 05508
                                   3500 N. Causeway Blvd., Suite 1405
                                   Metairie, Louisiana 70002
                                   Telephone: (504) 833-2166
                                   Facsimile: (504) 831-9474
                                   Email: fenascilaw@aol.com

                                   AND

                                   WAYNE W. YUSPEH
                                   WAYNE W. YUSPEH, APLC
                                   LA. Bar Roll No. 8899
                                   3500 N. Causeway Blvd., Suite 1405
                                   Metairie, Louisiana 70002
                                   Telephone: (504) 833-2166
                                   Facsimile: (504) 831-9474
                                   Email: wwy@yuspehlawoffice.com


                                   ATTORNEYS FOR PLAINTIFF




                             7
